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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

NATIONAL RIFLE ASSOCIATION OF                   §
AMERICA,                                        §
                                                §
       Plaintiff and Counter-Defendant,         §
                                                §
                                                §
v.                                              §           Case No. 3:19-cv-02074-G
                                                §
ACKERMAN MCQUEEN, INC.,                         §
                                                §
       Defendant and Counter-Plaintiff,         §
                                                §
and                                             §
                                                §
MERCURY GROUP, INC., HENRY                      §
MARTIN, WILLIAM WINKLER, and                    §
MELANIE MONTGOMERY,                             §
                                                §
       Defendants.                              §

            DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S
                MOTION FOR PARTIAL SUMMARY JUDGMENT

       Ackerman McQueen, Inc. (“AMc”), Mercury Group, Inc., Henry Martin, William Winkler,

and Melanie Montgomery (collectively, “Defendants”) file this Response in Opposition to

Plaintiff’s Motion for Partial Summary Judgment (ECF 414) pursuant to FED. R. CIV. P. 56 and

respectfully show as follows:

       Each of the matters required by Local Civil Rule 56.3 is set forth in the accompanying brief

and appendix in Opposition to the National Rifle Association of America’s Motion for Partial

Summary Judgment (the “Motion”).

       WHEREFORE, PREMISES CONSIDERED, Defendants respectfully request and pray

that the Court deny the NRA’s Motion in its entirety.




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December 20, 2021.

                                              Respectfully submitted,

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                                              ATTORNEYS FOR
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                                              ACKERMAN MCQUEEN, INC.



                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 20, 2021, I filed the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas. I hereby certify that I have served
the document on all counsel and/or pro se parties of record by a manner authorized by Federal
Rules of Civil Procedure 5(b)(2).

                                              /s/ Brian E. Mason
                                              BRIAN E. MASON




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